Case 5:17-cv-00222-I\/|-BQ Document 23 Filed 12/29/17 Page 1 of 15 Page|D 886

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IN THE UNITED sTATEs DIsrRlCT COURT
FoR THE NoRTHERN DlsTRlCT oF TEXAS tall 855 29 nn H= g 7

LUBBOCK DIVISION

    
 

:?U "` - ;- .' `
JOHN RICHARD ANDERSON, W"LER " ~
Plaintiff,
v. Civil Aaion No. 5;17_Cv~222~M-BQ

CONTINENTAL WESTERN INSURANCE
COMPANY, BERKLEY NATIONAL
INSURANCE COMPANY F/K/A UNION
STANDARD INSURANCE COMPANY,
AND CHRISTOPHER LEE MICHELS,

WEWDWICMOO°COOCOJMW>OOD<BO?WZCOD

Defendants.

FINDINGS, CoNCLUsIoNs, AND
RECOMMENDATION on THE UNlTEI) sTAT_ES MAGISTRATE JUDGE

Plaintiff John Richard Anderson (Plaintiff or Anderson) filed a Motion to Remand and
Brief in Support (ECF No. 18), to Which Defendant Continental Western lnsurance Company
(Continental) has filed its response ECF No. Zl. Plaintiff did not file a reply.

Pursuant to 28 U.S.C. § 636(b) and a standing order of reference (See ECF No. l'?), United
States Chiet` District Judge Barbara l\/[. G. Lynn referred this case to the United States Magistrate
Judge for pretrial management ln accordance With the order ofreference, the undersigned issues
the following findings of fact and conclusions of law, and RECOMMENDS that this action be
remanded to state court for the reasons explained below

I. Background

On August 23, 2017, Anderson filed his Original Petition in the l32nd Judicial District
Court ofBorden County, Texas. Defs.’s Notice ofRernoval, EX. l, at l (ECF No. l-2) [hereinafter
Pl.’s Original Pet.]. Through his Petition, Anderson alleges that on June 5, 2016, a hail and/or

Windstorm struck Borden County and caused extensive damage to his home. [d. at 3. Anderson

Case 5:17-cv-OO222-I\/|-BQ Document 23 Filed 12/29/17 Page 2 of 15 Page|D 887

filed a claim with Continental (and Berkley National lnsurance Companyl) for the damages
sustained Id. Continental assigned Defendant Christopher Lee l\/Iichels as the adjuster for the
claim. Id. at 4. ln regard to his claims against Michels, Anderson alleges Michels: (l) was not
properly trained; (2) denied his claim without physically inspecting the property; (3) failed to
properly assess all damages caused by the storing (4) omitted covered damages from the report; (5)
failed within a reasonable time to either affirm or deny coverage on the claim; and (6) performed
an “outcome oriented investigation” of the claim, severely underestimating damages to the
property Id. at 4, 8, lG. Anderson claims Michels’s conduct violated Texas lnsurance Code
§ 541-069(&)(1),(3)(2)(14); (a)(3), (@1)(4), and (a)('/’)-

On September 22, 2017, Defendants timely removed the case to this court on the basis of
diversity jurisdiction under 28 U.S.C. § 1332(a). Defs.’s Notice of Removal, at 2, 4 (ECF No. l).
Defendants contend that the court possesses diversity jurisdiction under 28 U.S.C. § 1332 because
Anderson, who is a citizen of Texas, improperly joined l\/[ichels, also a citizen of Texas, for the
purpose of defeating diversity. Ia'. at 2. On October l7, 2017, Anderson filed the instant l\/lotion
to Rernand, arguing that l\/lichels is properly joined as a defendant; thus, complete diversity cannot
exist and the case must be remanded to state court. ECF No. lS. On November 7, 2017,
Continental filed its response, claiming that: (l) Anderson fails to allege conduct for which
l\/[ichels, as an insurance adjuster, may be held liable under the Texas lnsurance Code; and (2)
Anderson’s allegations against l\/lichels recite “boilerplate” and conclusory language instead of

specific facts that state a viable claim_ ECF No. 21. Continental argues that Michels is therefore

 

1 Anderson originally filed suit against Continental and Berkley National Insurance Company (Berkley). See Pl.’s
Original Pet.1 at l. On OCtober 3, 2017, however, Anderson filed a motion to dismiss Berl<ley without prejudice (ECF
No. l4), which the district court granted on October 10, 2017. ECF No. 16. Berkley is therefore no longer a party to
this lawsuit

_Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 3 of 15 Page|D 888

improperly joined and, as a result, the court possesses subject matter jurisdiction over this action
Id.
II. Legal Standards

The jurisdiction of federal courts is limited Gimn v. .Minron, 568 U.S. 251, 256 (2013)
(quoting Kokk()nen v. Guardian Lr`fé Ins. Co. ofAm., 511 U.S. 375, 377 (1994)) (“‘Federal courts
are courts of limited jurisdiction,’ possessing ‘only that power authorized by Constitution and
statute.”’); see Howery v. Aflstate, 243 F.3d 912, 916 (5th Cir. 2001). Thus, a court “must
presume” a suit lies outside its limited grant of jurisdiction,¢ and the burden of establishing
jurisdiction lies with the party seeking to invoke the federal forum. Howery, 243 F.3d at 916. A
defendant seeking to remove a case to federal court satisfies its burden by showing a basis for
federal jurisdiction and that removal was proper. Manguno v. Prua’enrial Prr)p. & Cas. Ins. Co.,
276 F.3d 720, 723 (5th Cir. 2002); Mz'ller v. Diamond Shamrock Co., 275 F.3d 414, 417 (Sth Cir.
2001).

Under 28 U.S.C. § 1441 (a), a defendant may remove to federal court an action filed in state
court if the action could have originally been filed in the federal forum. Courts, however, strictly
construe § 1441 “because a defendant’s use of that statute deprives a state court of a case properly
before it and thereby implicates important federalism concerns.” Frank v. Bear Stearns & Co.,
128 F.3d 919, 922 (Sth Cir. 19§7) (citing Carpenter v. Wichita F_alls Indep. Sch, Dz'st., 44 F.3d
362, 365 (Sth Cir.1995).

Where a defendant removes the case under § 1332 on the basis of diversity of citizenship, `
as in the present case, a district court may properly exercise jurisdiction after removal only if:
(1) the parties are of completely diverse citizenship; and (2) none of the properly joined defendants

is a citizen of the state in which the case is brought See 28 U.S.C. § 1441(b). Removal based on

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 4 of 15 Page|D 889

diversity of citizenship is improper where “any of the parties in interest properly joined and served
as defendants is a citizen of the State in which such action is brought.” Id. If, however, the
removing defendant establishes that the plaintiff improperly joined a non-diverse defendant, the
case may nevertheless be removedj despite the presence of the non-diverse defendant _See Boze
Mem ’l, ]nc. v. vaelers Lloyds fns. Co., No. 3112-cv-43 63-1\/[, 2013 WL 775362, at *2 (N.D. Tex.
Feb. 28, 2013) (citing Safazar v. Allstare Tex. Lloyd’s, Inc,, 455 F.3d 571, 574 (5th Cir. 2006)).

A defendant Who alleges improper joinder in support of its petition for removal faces the
secondary_burden--described by the Fifth Circuit as a “heavy one”--of showing either: “(1) the
plaintiff has stated a claim against a diverse defendant that he fraudulently alleges is nondiverse,
or (2) the plaintiff has not stated a claim against a defendant that he properly alleges is nondiverse.”
Inr’l Energy VenluresMgn/zr., L.L.C. v. United Energy Grp., chi’., 818 F.3d 193, 199 (5th Cir. 2016)
(citing Smallwood v. fll. Cent. R.R. CO., 385 F.3d 568, 573 (5tl1 Cir. 2004) (en banc)) (emphasis in
original); see Campbell v. Stone IHS., Inci, 509 F.3d 665, 669 (5th Cir. 2007) (quoting McDC)nal v.
Abbotr Labs., 408 F.3d 177, 183 (5th Cir. 2005)) (“The doctrine of improper joinder is a ‘narrow
exception’ to the rule of complete diversity, and the burden of persuasion on a party claiming
improper joinder is a ‘heavy one.”’). Because the parties agree that l\/lichels is, in fact, non-diverse
(see Pl.’s Mot. to Remand, at 3 (ECF No. 18); Def.’s Resp., at 2 (ECF No. 21)), the court will
consider only the second method for establishing improper joinder.

Under the latter method, Continental must demonstrate “that there is no possibility of
recovery by the plaintiff against [a non-diverse] defendant, which stated differently means that
there is no reasonable basis for the district court to predict that the plaintiff might be able to recover
against [a non-diverse] defendant.” Int’l Energy, 818 F.3d at 200 (quoting Smallwood, 385 F.3d

at 573). To determine Whether the plaintiff has stated a claim against the non-diverse defendant,

CaS€ 5217-CV-OO'222-|\/|-BQ DOCUm€nt 23 Filed 12/29/17 Page 5 Of 15 Page|D 890

the court must generally conduct a Federal Rule of Civil Procedure 12(b)(6)-type analysis_
“examining the allegations in the complaint to determine whether the complaint states a claim -
under state law against the in-state defendant.” Travis v. Irby, 326 F.3d 644, 649 (5th Cir. 2003).
Alternatively, the court may pierce the pleadings and conduct a summary judgment-like inquiry if 7
the complaint “has omitted discrete facts.” Larroquerte v. Cardinal Healrh 200, Inc., 466 F.3d
373, 376 (5th Cir. 2006). The Fifth Circuit, however, has “caution[ed] that a summary inquiry is
appropriate only to identify the presence of discrete and undisputed facts that would preclude
plaintiffs recovery against the [non-diverse} defendan .” Smaflwooo’, 385 F.3d at 573-74.

With respect to the 12(b)(6)-type analysis, the Fifth Circuit recently clarified that the
federal pleading standard-not a state’s-applies in determining whether the plaintiff improperly
joined a non-diverse defendant See Int’l Energy, 818 F.3d at 201_01 (abrogating three post-
Smallwooa' Fifth Circuit cases that applied a state pleading standard instead of the federal
standard). Under the federal pleading standard, the plaintiff’ s complaint must allege sufficient
facts “to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual_content that
allows the court to draw the reasonable inference fhat the defendant is liable for the misconduct
alleged.” Ashcrofi‘ v. Iqbal, 556 U.S. 662, 678 (2009). The plaintiff s complaint must provide more
than-“labels and conclusions” and must not merely restate the elements of a cause of action. Id`.
And while the court must accept all of the plaintiffs factual allegations as true, the court is “not
bound to accept as true a legal conclusion couched as a factual allegation.” [d. (quoting Twombly,
550 U.S. at 555). As the Suprerne Court has made clear, “a Rule 12(b)(6) motion turns on the
sufficiency of the ‘factual allegations’ in the complaint.” Smith v. Bank ofAm., 'N.A. , 615 F, App’X

830, 833 (Sth Cir. 2015) (quoting Johnson v. Ci'ly ofShelby, 135 S. Ct. 346, 347 (2014));

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 6 of 15 Page|D 891

“Ordinarily, if a plaintiff can survive a Rule 12(b)(6) challenge, there is no improper
joinder.” Smallwood, 358 F.3d at 573. l\/loreover, “any doubt about the propriety of removal must
be resolved in favor of remand.” Gasch v. Hartford Acc. & lndem. Co., 491 -F.3d 2787 281-82
(Sih Cir. 2007).

III. Discussion

ln their papers before the court, the parties focus solely on whether Anderson has stated a
plausible claim for relief against l\/lichels under chapter 541 of the Texas lnsurance Code. Pursuant
to the Texas lnsurance Code, a person_defined as “an individual . . . or other legal entity engaged
in the business of insurance, including an agent7 brol<er, adjuster, or life and health insurance
counselor”--may not engage in “an unfair method of competition or an unfair or deceptive act or
practice in the business of insurance . . . .” Tex. lns. Code §§ 541.002(2), 541.060(a). Anderson
alleges, among other violations, that Michels engaged in unfair settlement practices, and unfair or
deceptive acts, in violation of TeXas lnsurance Code § 541 .060(a)(1), (a)(2)(A), (a)(3), (a)(4), and
(a)(?). See Pl.’s Original Pet., at 9-10. Conversely, Defendant contends that Anderson failed to
“allege conduct for Which an adjuster, as opposed to a carrier, can be held liable.” Def.’s Resp.,
at 4. Defendant also argues that Anderson, who he alleges has asserted nothing more than
“conclusory statements and boilerplate recitations of statutory language,’-’ has failed to allege
speciic facts demonstrating that l\/lichels violated § 541 .060. Id. Construing the Original Petition
in its entirety, the court finds Defendant has not met its heavy burden of establishing that Anderson
has no possibility of recovery against l\/lichels, and therefore recommends that Anderson’s l\/lotion

to Remand be granted

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 7 of 15 Page|D 892

A. The court declines to pierce the pleadings and engage in a summary inquiry.
lnitially, the court notes that Anderson attached numerous documents in support of his
Motion to Remand that are not a part of the original pleadings in state court. See Pl.’s l\/lot. to
Remand, at Exs. A-G. Only in cases where “a plaintiff has stated a claim, but has misstated or
omitted discrete facts that would determine the propriety of joinder” (i.e., preclude recovery
against the in-state defendant), may the court “pierce the pleadings and conduct a summary
inquiry.” Smallwooa', 385 F.3d at 513-74) (“Attempting to proceed beyond this summary process
carries a heavy risk of moving the court beyond jurisdiction and into a resolution of the merits, as
distinguished from an analysis of the court’s diversity jurisdiction by a simple and quick exposure
of the chances of the claim against the in-state defendant alleged to be improperly joined.”). The
court declines to engage in a summary inquiry in this instance, because Continental challenges
whether Anderson has in fact stated a claim against l\/.[ichels_it makes no assertion that Anderson
misstated or omitted discrete facts in attempting to establish the propriety of Michels’s joinder.
See Def.’s Resp., at 12-13; see also Vaaghan v. Srate Farm Lfoycls, Civ. No. l\/lO-l$-CA-l?, 2015
WL 13134509, at *1 (W.D. Tex. Aug. 5, 2015) (citing Smallwooa’, 385 F.3d at 573) (finding that
summary inquiry is “limited to circumstances where the plaintiff has misstated or omitted discrete
facts that would determine the propriety of joinder”); Barton v. IPEX USA LLC, No. 5:12-CV-
034-C, 2012 WL 12886978, at "‘2 U\I.D. 'l`ex. l\/lay 7, 2012) (citing Smallwoocl, 385 F.3d at 574)
(declining to engage in a summary inquiry because the presence of discrete and undisputed facts
was not at issue in the case). As a result, the court has not considered the extraneous documents

Anderson attached to his motion in reaching its determination that the case should be remanded

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 8 of 15 Page|D 893

B. As an adjuster, Michels may be held personally liable under chapter 541 of the Texas
lnsurance Code.

To the extent Continental argues that l\/lichels, as an adjuster, cannot be individually liable
under § 541.060, its claim is unpersuasive2 See Def.’s Resp., at 4~5 (“First, the pleading fails to
allege conduct for which an adjuster, as opposed to a carrier, can be held liable.”). Continental
cites Messersmith v. Narr'onwr`ae Mutaal Fire lnsurance Company, a decision by Judge Solis from
the Northern District of Texas, in support of its argument that Anderson has failed to allege facts
giving rise to Michels’s individual liability. Ia’. at 5. ln Messersmith, the court concluded that “for
an adjuster to be held individually liable, they have to have committed some act that is prohibited
by the [Texas lnsurance Code], not just be connected to an insurance company’s denial of
coverage.” 10 F. Supp. 3d 721, 724 (N.D. Tex. 2014). Despite acknowledging that an adjuster
may theoretically be found liable for violations of the Texas lnsurance Code, the Messersmith
court concluded that under the facts alleged, an adjuster could not violate § 541 .060(a)(1), 3
(a)(Z)(A), and (a)(7). Ia’. at 724-25.

The court acknowledges a certain degree of uncertainty in the law on this question. The `
Fifth Circuit has recognized generally that an insurance adjuster may face personal liability for
alleged violations of Texas lnsurance Code chapter 541. See Gasch, 491 F.3d at 282 (citing Liberty
Mar. fns. Co. v. Garrison Contractors, Inc`, 966 S.W.2d 482, 484-86 (Tex. 1998)). Nevertheless,
there is disagreement among the lower courts regarding which specific provisions of chapter 541
provide a cause of action against adjusters individually Specifically, there is a split of authority

within the Northern District of Texas regarding whether a cause of action exists against adjusters

 

2 Continental does not disp ute that "‘theoretically,” an adjuster can face individual liability under Texas lnsurance Code
chapter 541. Def.’s Resp., at 4. Despite this concession, however, Continental apparently argues that Michels is not
liable under the specific provisions of chapter 541 based on the facts alleged in Anderson’s state court petition.

8

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 9 of 15 Page|D 894

under certain subsections of § 541.060. See Craz v. State Farm L.loya’s, No. 3:17-cv-0154l-l\/l_,
2017 WL 6447200, at *2#3 (N.D. Tex. Dec. 18, 2017) (Lynn, C.J.) (discussing split of authority
With respect to § 541.060(a)(2)(A)); Exch. Servs., 2015 WL 6163383, at *5 (Lynn, C.J.) (noting
generally that “[t]his Court has previously held that insurance adjusters can be liable under the
provisions at issue here,” including §541.060(a)(1)5 (a)(2)(A), (a)(3), (a)(4), and (a)(7), and
explicitly holding that adjusters can be liable under § 541 .060(a)(7)); Glz'a'ewell v. Safeco fns. Co_
of Ina’., 2015 WL 4868483, at "‘6 (N.D. Tex. Aug. 13, 2015) (Fish, J.) (declining to follow
Messersmr`th and holding an adjuster may be individually liable under § 541 .060(a)(l)). But See,
e.g., Gt`hson v. Liberly lns. Corp., NO. 3116-CV-3099-B, 2017 WL 3268028, at *8 (N.D. Tex. July
31, 2017) 'f§oyle, .l.) (“This Court has previously held, for instance, that §§ 541.060(a)(4) and
(a)(7) do not provide a cause of action against individual adjusters,” but concluding an adjuster
may be personally liable under § 541.060(a)(2).); One Way Invs., Inc. v. Century Sar. Co., No.
3:14-CV-2839-D, 2014 WL 6991277, at *4-5 (N_.D. Tex. Dec. 11, 20`14) (Fitzwater, J.)
(concluding an adjuster cannot be individually liable under § 541 .060(a)(1), (a)(2)(A), and (a)(7)).

Because of this uncertainty, “[i]n the context of a motion to remand, this split in authority
regarding the scope of an insurance adjuster’s liability under the Texas lnsurance Code must be
resolved in favor of remand because ‘ [a]ny ambiguities are construed against removal and in favor
of remand to state court.”’ Cruz, 2017 WL 6447200, at *3 (quoting Mehar Holdr'ngs, LLC v.
Evansrorr lns. Cr)., NO. 5:16-CV-49l-DAE, 2016 WL 5957681, at *4 (W.D. Tex. Oct. 14, 2016)];
see Gray ex rel Raa'a' v_ Beverfy Enters.-Mr'ss., fnc., 390 F.3d 400, 405 (5th Cir. 2004) (finding
that in cases involving claims of fraudulent joinder to defeat removal, “all disputed questions of
fact and all ambiguities in state law must be resolved in favor of the plaintiff”); Acana v. Brown,

200 F.3d 335, 339 (5th Cir. 2000) (citing Willy v. Coastal Corp., 855 F.2d ll60, 1164 (5th Cir.

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 10 of 15 Page|D 895

1988)) (noting that any “doubts regarding whether removal jurisdiction is proper should be
resolved against federal jurisdiction”). Thus, remand is proper if Anderson has pleaded facts
providing a reasonable basis to predict recovery against l\/lichels under state law. See, e.g., Jaime
v. Alfsrate Tex` Lloyds, No. 4:17-cv-00253»O-BP, 2017 WL 4676631, at *4 (N.D. Tex. Sept. 29,
2017), R. & _R. adopted hy, No. 4:17-CV-253-O-BP, 2017 WL 4620902 (N.D. Tex. Oct. 16J 2017)
(“B ecause there is a split in authority and the Court can reasonably read the Texas insurance Code
to apply to individual adjusters, the undersigned concludes that remand is proper if [plaintiff] has
pleaded a viable claim against [the adjuster].”).

C. Anderson’s motion to be remand_should be granted because Anderson has alleged
sufficient facts to predict a reasonable basis for recovery against Michels under Texas
lnsurance Code § 541.060(a)(2)(A) and (a)(7).

Because insurance adjusters such as l\/lichels can face individual liability under the Texas
lnsurance Code, the question before the court is whether there is a reasonable basis to predict that
Anderson might recover against Michels, the non-diverse, in-state Defendant, under state law.
Smallwood, 385 F.3d at 573. The heavy burden of establishing that there is no reasonable basis
on which to predict that Anderson might recover against l\/lichels falls on Continental. The court
finds that at least some of the allegations in Anderson’s Original Petition provide a reasonable
basis to predict recovery against l\/Iichels and that Continental has therefore failed to meet its
burden.

Anderson makes the following factual allegations against l\/Iichels in his Original Petition
filed in state court: n

15. Defendant Continental assigned l\/lichels as the individual adjuster (“the

adj uster”) on the claim. The adjuster denied the claim without ever inspecting the

property or getting on the roof to inspect the property lnstead, Michels based his

claim decision on second hand information from an unlicensed inspector sent out

to deny the claim_ . . . The adjuster conducted a`substandard inspection of Plaintiff’s
Property evidenced by the adjuster’s reportl The damages the adjuster included in

10

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 11 of 15 Page|D 896

the report were grossly undervalued and did not allow for adequate funds to cover
the cost of repairs to all the damages sustained

34. Continental assigned l\/lichels to adjust this claim. Michels Was improperly
trained and performed an outcome oriented and unreasonable investigation of
Plaintiff’ s damages Michels did not properly assess all damages caused by the
Storm and omitted covered damages from the report including the full extent of
damage to the roof. Michels refused to fully compensate Plaintiff for the full
amount Plaintiff is entitled under the Policy. . . .

38. Defendant l\/lichels’ unfair settlement practices, as described above, of

failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement

of the claim, even though liability under the Policy is reasonably clear, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance TEX. lNS. CODE § 541.060(a)(2)(A).

41. Defendant-Michels did not properly inspect the Property and failed to

account for and/or undervalued Plaintiff’s roof damage, although reported by

Plaintiff to Continental. Defendant l\/lichels’ unfair settlement practices, as

described above, of refusing to pay Plaintiff’s claim Without conducting a

reasonable investigation, constitutes an unfair method of competition, and an unfair

and deceptive act or practice in the business of insurance TEX. INS. CODE

§ 541.060(a)(7).
Pl.’s Original Pet., at 4, 8-10.

Anderson alleges, among other violations, that Michels’s conduct violated
§ 541 .060(a)(2)(A) and (a)(7) of the Texas lnsurance Code. Under § 541.060(a)(2)(A), a “person”
may be liable for “failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of . . . a claim with respect to vvhich the insurer’s liability has become reasonably clear.”
Under § 541.060(a)(7), a “person” may be liable for “refusing to pay a claim without conducting
a reasonable investigation with respect to the claim.” As several district courts have held, “an
adjuster has the ability to affect or bring about the settlement of a claim.” Manziel v. Seneca lns.
Co., Inc_, No. 3:15-CV-03786-l\/1, 2016 WL 3745686, at *3 (N.D. Tex. July 13, 2016) (citing
several cases for support); see Gibson, 2017 WL 3268028, at *9 (quoting Denley Grp,, LLC v.

Safeco last Co. affnd., No. 3:15-CV~"~1183-B, 2015 WL 5836226, at *4 (l\l.D. Tex. Sept. 30,

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Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 12 of 15 Page|D 897

2016)) (noting that “[a]s the persons primarily responsible for investigating and evaluating
insurance claims, insurance adjusters unquestionably have the ability to affect or bring about
‘prompt, fair, and equitable settlement’ of claims, because it is upon their investigation that the
insurance company’s settlement of a claim is generally based”). The court finds that the following
claims are pleaded with sufficient specificity to offer a “reasonable basis” to predict Anderson
might recover against l\/lichels under § 541.060(a)(2)(A) and (a)(7): (l) l\/lichels failed to
adequately inspect the property by sending an unlicensed, third party inspector, and he never
evaluated the property himself; (2) l\/lichels omitted covered damages from his report', (3) Michels
performed an outcome-oriented investigation; and (4) l\/Iichels undervalued, among other items,
the damage to Anderson’ s roof. See Cruz, 2017 WL 6447200, at ”‘2 (finding a reasonable basis to
predict plaintiff might recover against insurance adjuster under § 541 .060(a) (2)(A) where plaintiff
alleged adjuster only inspected property for twenty minutes, failed to properly identify the scope
of damages to plaintiff’ s property, and “underestimated the cost of repairs to the damages”); Mary
v. Allsl'ate Tex. Lloya"s, No. 3:16-CV-3383-L, slip. op. at 20-22 (ECF No. 27) (N.D. Tex. Oct. 5,
2017) (Horan, J.) (finding plaintiff stated a claim against adjuster under § 541.060(a)(2)(A) by
alleging adjuster undervalued damages to plaintiff’s property, particularly the roof, and conducted
a “substandard inspection” by spending an “inadequate amount of time inspecting plaintiffs
property,” and citing several cases with similar allegations for support); Avila v. Metro. Lloya's Ins.
Co. Ochx., No. 3:16-cv-3007-L, 2017 WL1232529, at *12~13 (N.D. Tex. Feb. 2l, 2017) (Horan,
J.),R. & R. adopted by, l\lo. 3:16-CV-3007-L, 2017 WL1211339 (N.D. Tex. Apr. 3, 2017) (finding
plaintiff pleaded sufficient facts to state a claim against adjuster under § 541.060(a)(2)(A) and
(a)(7), where plaintiff alleged adjuster conducted a thirty-minute inspection of property, omitted

damages from his report, undervalued the cost of repairs to the property, and misrepresented to

12

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 13 of 15 Page|D 898

plaintiffs that certain damages were not covered, thus underpaying the claim); Manziel, 2016 WL
3745686, at *3 (finding a reasonable basis to predict plaintiff might recover against insurance
adjuster under § 541.060(a)(7) where plaintiff alleged adjuster “conducted a results-oriented

’E\'.

investigation” and did not respond to plaintiffs queries as to the status of their claim and [second
adjuster’s] investigation”).

Because Anderson pleaded a sufficient claim (for the limited purpose of demonstrating
Anderson might possibly recover on these claims) against l\/lichels under Rule l2(b)(6), the
undersigned concludes that Michels was properly joined as a Defendant As a result, complete
diversity of citizenship does not exist, and the district court should therefore remand this action for
lack of subject matter jurisdiction.

The court acknowledges that under the federal pleading standard, several of Anderson’s
allegations may amount to conclusory assertions that merely recite boilerplate statutory language
See, e.g., Pl.’s Original Pet.J at 10 (alleging Michels violated § 541.060(a)(4) by “failing within a
reasonable time to affirm or deny coverage of the claim to Plaintiff,” but including no factual
allegations to support his contention). This court need not deterrnine, however, whether Anderson
has sufficiently pleaded each cause of action against l\/lichels, the in-state Defendant lnstead, “a
single valid cause of action against in-state defendants, despite the pleading of several unavailing
claims, requires remand of the entire case to state court.” Smith-Manm`ng v. State Farrn Lloyds,
No. 3113-CV-3056-l\/l, 2013 WL 5637539, at *2 (N.D. Tex. Oct. 14, 2013) (quoting Gray v.
Beverly Enrers.-Miss., Inc., 5th Cir. 2004)). The undersigned thus recommends that the District

Court grant Anderson’s Motion for Remand.

13

Case 5:17-cv-OO222-|\/|-BQ Document 23 Filed 12/29/17 Page 14 of 15 Page|D 899

l). - Anderson should not be awarded the reasonable attorneys’ fees and costs incurred as
a result of the removal.

ln addition to requesting that the court remand this caseJ Anderson also asks the court to
award him attorneys’ fees and costs for obtaining a remand in this action. Anderson contends
Continental improperly removed the case by disregarding the law of the district and the facts of
the case. Pl.’s l.\/.lot. to Remand, at 19. Section 1447(c) provides that “[ajn order remanding the
case may require payment of just costs and any actual expenses, including attorney fees, incurred
as a result of the removal.” 28 U.S.C. § 1447(c). There is no “automatic entitlement,” however,
to an award of attorneys’ fees and costs. Vala’es v. Wal-Mart Srores, Inc., 199 F.3d 290, 292 (5th
Cir. 2000). “Absent unusual circumstances, courts may award attorney’s fees under § 1447(0)
only where the removing party lacked an objectively reasonable basis for seeking removal.”
Martr`n v. Franklin Capitat' Corp., 546 U.S. l32, 141 (2005). lf “the defendant had objectively
reasonable grounds to believe the removal was legally proper” at the time of removal, the court
should not award attorneys’ fees, “irrespective of the fact that it might ultimately be determined
that removal was improper.” Valales, 199 F.3d at 293.

Here, as the court noted above, there is a split of authority in this district as to whether the
law imposes personal liability on an adjuster for violations of Texas lnsurance Code § 541.060.
Thus, the undersigned recommends the district court conclude that Continental was not objectively
unreasonable in seeking removal based on improper joinder, even if the court ultimately
determines Michels was properly joined Accordingly, Anderson should not recover its reasonable
attorneys’ fees and costs under § l447(c).

IV. Recommendation
For the foregoing reasons, the undersigned RECOMMENDS that the United States

District Court GRANT -Plaintif`f` John Anderson’s l\/lotion to Remand (ECF No. 18) and

14

Case 5:17-cv-00222-|\/|-BQ Document 23 Filed 12/29/17 Page 15 of 15 Page|D 900

REMAND this action to the l32nd Judicial District Court of Borden County, Texas. The
undersigned further recommends that the United States District Court DENY Plaintiff’ s request
for attomeys’ fees and costs incurred as a result of the removal Additionally, the undersigned
recommends that the United States District Court DENY Defendant Christopher Lee Michels’s

l\/lotion to Dismiss (ECF l\lo. 9) due to a lack of subject matter jurisdiction3

V. Right to Ob]'ect

A copy of these findings, conclusions, and recommendation shall be served on all parties
in the manner provided by law. Any party who objects to any part of these findings, conclusions,
and recommendation must file specific written objections within fourteen days after being served
With a copy. See 28 U.S.C. § 636(b)(1) (2016); Fed. R. Civ. P. 72(b). To be specific, an objection
must identify the Specific finding, Conclu_sion, or recommendation to which objection is made,
state the basis for the objection, and specify the place in the magistrate judge’s Findings,
Conclusions, and Recommendation where the disputed determination is found An objection that
merely incorporates by reference or refers to the briefing before the magistrate judge is not specific
Failure to file specific written objections will bar the aggrieved party from appealing the factual
findings and legal conclusions of the magistrate judge that are accepted or adopted by the district
court, except upon grounds of plain error. See Douglass v. United Servs. Auro. Ass ’n, 79 F.3d

1415, 1417 (5th Cir. 1996).

Dated: December l l, 2017 m m%

D. GORDON BRYANT,
UNITE]) STATES MA TRATE JUDGE

 

3 Pursuant to the standing order of reference (ECF No. 17), the undersigned also recommends that the United States
District Court DENY as moot Defendant Berl<ley National lnsurance Cornpany’s Motion to Dismiss (ECF No. ll),
as Berkley is no longer a defendant in this action. See ECF No. 16.

15

